                                                                                            Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 1 of 22 Page ID #:1



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                                                                                             11
                                                                                                                     UNITED STATES DISTRICT COURT
              2049 CENTURY PARK EAST, SUITE 2 300




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                                                                                                              FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                    LOS ANG ELES, CA 90067
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                                                                             310-229-9900




                                                                                             14   MATTEL, INC., a Delaware                  Case No. 2:22-CV-5702
                                                                                                  corporation,
                                                                                             15
                                                                                                                          Plaintiff,        PLAINTIFF MATTEL, INC.’S
                                                                                             16                                             COMPLAINT FOR:
                                                                                                                    v.
                                                                                             17
                                                                                                  RAP SNACKS, INC., a Florida               (1) FEDERAL TRADEMARK
                                                                                             18   corporation, and DOES 1 through 10,       INFRINGEMENT (15 U.S.C. § 1114)
                                                                                             19                           Defendants.       (2) FEDERAL UNFAIR
                                                                                                                                            COMPETITION AND FALSE
                                                                                             20                                             DESIGNATION OF ORIGIN (15
                                                                                             21                                             U.S.C. § 1125(a))
                                                                                                                                            (3) FEDERAL TRADEMARK
                                                                                             22                                             DILUTION (15 U.S.C. § 1125(c))
                                                                                             23                                             (4) STATE UNFAIR
                                                                                                                                            COMPETITION (CAL. BUS. &
                                                                                             24                                             PROF. CODE § 17200)
                                                                                             25
                                                                                                                                            JURY TRIAL DEMANDED
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                                                                                                                                       COMPLAINT
                                                                                            Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 2 of 22 Page ID #:2



                                                                                              1         Plaintiff Mattel, Inc. (“Mattel” or “Plaintiff”) for its complaint against Rap
                                                                                              2   Snacks, Inc. (“Rap Snacks” or “Defendant”) and DOES 1-10, hereby alleges as
                                                                                              3   follows:
                                                                                              4                              NATURE OF THE ACTION
                                                                                              5              1. For decades, Mattel’s Barbie has been one of the world’s most well-
                                                                                              6   known and recognizable brands. From Barbie’s origins as America’s first fashion
                                                                                              7   doll to the expansive product line of today, which includes dolls inspired by Rosa
                                                                                              8   Parks, Jane Goodall, and Eleanor Roosevelt, among other role models, Barbie has
                                                                                              9   inspired the limitless potential in generations of children through play. Barbie has
                                                                                             10   also become a growing franchise and popular culture phenomenon outside of the
                                                                                             11   toy aisle, from an established array of Barbie-branded consumer products, to a
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12   broad range of popular animated television series and specials, and more recent
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                                                                                             13   initiatives like the upcoming live-action Barbie theatrical film, all produced or
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                                                                                             14   licensed and supported by Mattel.
                                                                                             15              2. Mattel encourages people of all ages and backgrounds to talk about
                                                                                             16   and share their Barbie experiences, and to celebrate their enthusiasm for Barbie.
                                                                                             17   Occasionally, however, some put profits ahead of play and seek commercial gain
                                                                                             18   by manufacturing, promoting and selling Barbie-branded products without Mattel’s
                                                                                             19   permission, in a way that harms and dilutes the famous and distinctive Barbie
                                                                                             20   brand. This is such a case.
                                                                                             21         3.      Rap Snacks made the deliberate and calculated choice to launch a new
                                                                                             22   product line using Mattel’s famous BARBIE trademark. That choice, made without
                                                                                             23   any prior notice to Mattel, was unlawful. As a result, Mattel has been forced to
                                                                                             24   bring this lawsuit to defend its rights to the BARBIE brand because Defendant Rap
                                                                                             25   Snacks impermissibly traded off, and continues to trade off, the value and goodwill
                                                                                             26   of Mattel’s famous trademark.
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                                                                                                                                       COMPLAINT
                                                                                            Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 3 of 22 Page ID #:3



                                                                                              1         4.     Without Mattel’s authorization or prior knowledge, Rap Snacks
                                                                                              2   purposely, and with much fanfare, launched its new line of potato chips using
                                                                                              3   Mattel’s BARBIE trademark on its packaging and advertising, including the
                                                                                              4   stylized BARBIE trademark. Defendant’s blatant and intentional use of Mattel’s
                                                                                              5   trademark will cause consumers to associate the Defendant’s products with Mattel
                                                                                              6   and its BARBIE brand, and that false association is enhanced even further by
                                                                                              7   Defendant’s use of imagery and colors that are associated with the BARBIE brand.
                                                                                              8   On information and belief, the association is so evident that upon seeing the
                                                                                              9   packaging, representatives for Defendant’s celebrity partner queried whether Rap
                                                                                             10   Snacks had obtained permission from Mattel. Indeed, Rap Snacks never requested
                                                                                             11   or received any such permission from Mattel. Rap Snacks proceeded to launch its
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12   product line anyway using the packaging set forth below:
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                                                                                             21         5.     Defendant flooded social media and marketing channels with a
                                                                                             22   massive, unauthorized nationwide promotional launch of potato chips prominently
                                                                                             23   featuring Mattel’s Barbie trademark, including on a New York City billboard,
                                                                                             24   promotional potato chip giveaways at a music festival in New Orleans, an
                                                                                             25   exclusive article announcing the launch in People magazine, and continual posts
                                                                                             26   and videos across multiple social media platforms including, Facebook, Twitter,
                                                                                             27   Instagram, LinkedIn, and TikTok. By way of example only, Rap Snacks’ launch
                                                                                             28   included the following:

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                                                                                                                                       COMPLAINT
                                                                                            Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 4 of 22 Page ID #:4



                                                                                              1                                Billboard in New York City:
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                                                                                              9         6.     Upon learning of this infringement, Mattel immediately engaged with
                                                                                             10   Defendant to attempt to resolve this matter. Defendant, however, refused to cease
                                                                                             11   use of the BARBIE trademark and issued no corrective advertising, thereby forcing
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12   Mattel to bring this lawsuit as a last resort to protect its rights and prevent further
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                                                                                             13   consumer confusion.
                                                                             310-229-9900




                                                                                             14         7.     This action seeks judgment, damages and injunctive relief for
                                                                                             15   Defendant’s willful infringement of Mattel’s famous BARBIE trademark, for
                                                                                             16   unfair competition and false designation of origin, trademark dilution, and unfair
                                                                                             17   competition under California state law. Mattel also seeks its attorneys’ fees and
                                                                                             18   costs herein, as well as an accounting of Rap Snacks’ profits resulting from its
                                                                                             19   decision to infringe Mattel’s trademark.
                                                                                             20                             JURISDICTION AND VENUE
                                                                                             21         8.     This action arises under the Lanham Act, 15 U.S.C. §§ 1051 et seq
                                                                                             22   and contains a related California statutory claim. This Court has subject matter
                                                                                             23   jurisdiction over this action pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331
                                                                                             24   and 1338, as this is an action arising under the laws of the United States and
                                                                                             25   relating to trademarks. This Court has supplemental jurisdiction over the state law
                                                                                             26   claim pursuant to 28 U.S.C. § 1367, as that claim is part of the same case or
                                                                                             27   controversy as the federal claims alleged herein.
                                                                                             28         9.     This Court has personal jurisdiction over Defendant Rap Snacks

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                                                                                                                                         COMPLAINT
                                                                                            Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 5 of 22 Page ID #:5



                                                                                              1   because, among other things, Rap Snacks is doing business in the state of
                                                                                              2   California. Indeed, Rap Snacks purposefully directs and conducts business in
                                                                                              3   California generally and specifically as to the product at issue, the acts of
                                                                                              4   infringement complained of in this action took place in the state of California, and
                                                                                              5   the acts of infringement complained of in this action involve Rap Snacks entering
                                                                                              6   into a contract with a resident of California. In fact, Rap Snacks’ own website
                                                                                              7   reveals that its products are available in stores in California, including in this
                                                                                              8   judicial district. See https://www.rapsnacks.net/pages/store-locator.
                                                                                              9          10.    Defendant Rap Snacks also knowingly directed tortious acts at Mattel
                                                                                             10   in California, and has committed tortious acts that it knew would cause injury to
                                                                                             11   Mattel in California.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12          11.    Venue is proper in this district pursuant to 28 U.S.C § 1391(b)
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                                                                                             13   because a substantial part of the events that give rise to this action occurred in this
                                                                             310-229-9900




                                                                                             14   judicial district.
                                                                                             15                                      THE PARTIES
                                                                                             16          12.    Mattel is a corporation organized and existing under the laws of
                                                                                             17   Delaware and has its principal place of business at 333 Continental Boulevard,
                                                                                             18   TWR 15-1, El Segundo, California 90245.
                                                                                             19          13.    Upon information and belief, Defendant Rap Snacks is a corporation
                                                                                             20   organized and existing under the laws of Florida and has its principal place of
                                                                                             21   business at 150 SE 2nd Avenue, Suite PH6, Miami, Florida 33131.
                                                                                             22          14.    Mattel is currently unaware of the identities of defendants Does 1-10,
                                                                                             23   and therefore, sues such defendants by such pseudonyms. Upon information and
                                                                                             24   belief, discovery will reveal the true identities and specific conduct of those
                                                                                             25   defendants and Mattel will then amend this Complaint to identify those defendants
                                                                                             26   by name. Mattel alleges that Does 1-10 participated in the misconduct alleged
                                                                                             27   herein, and are therefore liable for the same. Mattel alleges that, at all times, each
                                                                                             28   Doe defendant was acting as an agent, partner, joint venturer, an integrated

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                                                                                                                                         COMPLAINT
                                                                                            Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 6 of 22 Page ID #:6



                                                                                              1   enterprise or alter ego of each of the other defendants and each were co-
                                                                                              2   conspirators with respect to the wrongful conduct alleged herein so that each is
                                                                                              3   responsible for the acts of the other. Moreover, Does 1-10 not only participated in
                                                                                              4   the infringing acts alleged herein, but each was a moving, active and conscious
                                                                                              5   force behind Rap Snacks’ and the other defendants’ decision to engage in the
                                                                                              6   infringing acts, or otherwise caused the infringement by Rap Snacks to occur.
                                                                                              7                              GENERAL ALLEGATIONS
                                                                                              8                         Mattel’s Famous BARBIE Trademark
                                                                                              9         15.    Since 1959, Mattel has used BARBIE as a source identifier for its line
                                                                                             10   of dolls, becoming one of the most popular and valuable trademarks in the world
                                                                                             11   (“BARBIE trademark”). Over the ensuing six decades, Mattel has used the
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12   BARBIE trademark on thousands of different BARBIE-branded products, and
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                                                                                             13   BARBIE has become a household name and famous trademark. Mattel offers and
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                                                                                             14   sells its products worldwide through major retailers, online marketplaces, and its
                                                                                             15   own website.
                                                                                             16         16.    On the strength of this strong consumer recognition, the BARBIE
                                                                                             17   trademark also long ago expanded beyond toys and into a broad range of
                                                                                             18   commercial and consumer products, including, but not limited to, clothing,
                                                                                             19   footwear, cosmetics, books, movies, games, puzzles, jewelry, bags, backpacks,
                                                                                             20   bedding, kitchenware, and food items.
                                                                                             21         17.    In fact, through licensees of the famous BARBIE brand, Mattel
                                                                                             22   currently sells food and snack products under the BARBIE trademark, including
                                                                                             23   but not limited to significant sales of pasta, candy, cookies, drinks, and fruit
                                                                                             24   snacks.
                                                                                             25         18.    Mattel has used a handful of variations of its stylized trademark over
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                                                                                                                                        COMPLAINT
                                                                                            Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 7 of 22 Page ID #:7



                                                                                              1   its decades of use, including:
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                                                                                                        19.    Not only has Mattel gained significant common law trademark and
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                                                                                                  other rights in its BARBIE-branded products through use, advertising, and
                                                                                              7
                                                                                                  promotion, but Mattel has also protected these valuable rights by filing for and
                                                                                              8
                                                                                                  obtaining federal trademark registrations.
                                                                                              9
                                                                                                        20.    Mattel owns dozens of United States Trademark Registrations for its
                                                                                             10
                                                                                                  BARBIE and BARBIE-formative marks, covering a broad range of goods and
                                                                                             11
                                                                                                  services, and including word marks and its stylized mark.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12
                                                                                                        21.    For example, Mattel owns registrations for BARBIE covering “time
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                                                                             310-229-9900




                                                                                                  pieces, specifically wrist watches” (U.S. Reg. No. 0772298), “insulating
                                                                                             14
                                                                                                  containers, specifically, vacuum bottles for preserving food and drinks” (U.S. Reg.
                                                                                             15
                                                                                                  No. 0813733), “hand mirrors” (U.S. Reg. No. 0816601), “purses and cosmetic
                                                                                             16
                                                                                                  cases” (U.S. Reg. No. 1795876), “bandages for skin wounds” (U.S. Reg. No.
                                                                                             17
                                                                                                  1795564), “facial tissues and stickers for fingernails” (U.S. Reg. No. 1769285),
                                                                                             18
                                                                                                  and “hair bands” (U.S. Reg. No. 2203306). Attached at Exhibit A hereto is a
                                                                                             19
                                                                                                  schedule of Mattel’s U.S. registrations for BARBIE and BARBIE-formative
                                                                                             20
                                                                                                  marks, many of which are incontestable pursuant to 15 U.S.C. § 1065.
                                                                                             21
                                                                                                        22.    Notably, Mattel owns a trademark registration for the BARBIE word
                                                                                             22
                                                                                                  mark (U.S. Reg. No. 2678386) covering, among other things, “Edible cake
                                                                                             23
                                                                                                  decorations, candy, cookies, chocolate candy” in International Class 30.
                                                                                             24
                                                                                                        23.    Mattel also owns a trademark application for the BARBIE word mark
                                                                                             25
                                                                                                  (U.S. Serial No. 97530796) covering “Fruit-based snack food” in International
                                                                                             26
                                                                                                  Class 29. This application asserts a first use date of February 13, 2017.
                                                                                             27
                                                                                                        24.    Mattel’s BARBIE trademark is also considered “famous” within the
                                                                                             28
                                                                                                  meaning of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c). In fact, now-

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                                                                                                                                       COMPLAINT
                                                                                            Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 8 of 22 Page ID #:8



                                                                                              1   Justice Sonia Sotomayor wrote that “by any measure – the world-known BARBIE
                                                                                              2   is a ‘famous’ trademark under the Federal Anti-Dilution Act.”1
                                                                                              3         25.    Mattel has spent substantial time, money, and resources in building up
                                                                                              4   and developing consumer recognition, awareness, and goodwill in its BARBIE
                                                                                              5   trademark.
                                                                                              6         26.    Mattel has spent years marketing, promoting, and advertising its
                                                                                              7   BARBIE branded products through multiple channels worldwide, including on
                                                                                              8   television, and through print and internet-based advertising.
                                                                                              9         27.    The success of the BARBIE trademark is also due to Mattel’s high-
                                                                                             10   quality designs, materials, and processes in developing and creating BARBIE-
                                                                                             11   branded products, as well as its selective partnerships with manufacturers,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12   distributors, and other brands.
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                                                                                             13         28.    The BARBIE trademark’s fame is supported by its licensed use in
                                                                             310-229-9900




                                                                                             14   films and popular media. For example, a live-action film based on the BARBIE
                                                                                             15   fashion doll line is set for release in 2023 and is already receiving significant
                                                                                             16   attention. 2 In addition, BARBIE has appeared in other films, including the Toy
                                                                                             17   Story franchise3; has been depicted in a painting by the artist Andy Warhol 4; has
                                                                                             18   landed the cover of Time Magazine5; and is part of the Smithsonian Institution’s
                                                                                             19   collection in the National Museum of American History. 6
                                                                                             20         29.    The fame of the BARBIE trademark also extends to the internet and
                                                                                             21   social media. The BARBIE Instagram account (@barbie) boasts over 2.1 million
                                                                                             22

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                                                                                                    Mattel, Inc. v. Jcom, Inc., 1998 U.S. Dist. LEXIS 16195, *9 (S.D.N.Y. Sep. 10, 1998).
                                                                                                  2
                                                                                                    Ranyechi Udemezue, Everything You Need To Know About Greta Gerwig’s Barbie, Vogue,
                                                                                             24
                                                                                                  July 14, 2022, https://www.vogue.com/article/everything-you-need-to-know-greta-gerwig-
                                                                                             25   barbie.
                                                                                                  3
                                                                                                    TOY STORY 2 (Walt Disney Pictures 1999), TOY STORY 3 (Walt Disney Pictures 2010).
                                                                                             26   4
                                                                                                    Hannah Moore, Why Warhol painted Barbie, BBC, Oct. 1, 2015,
                                                                                                  https://www.bbc.com/news/magazine-34407991.
                                                                                             27   5
                                                                                                    INSIDE THE BIGGEST CHANGE IN BARBIE’S 57-YEAR HISTORY- AND WHAT IT
                                                                                                  SAYS ABOUT AMERICAN BEAUTY DEALS, TIME, http://time.com/barbie-new-body-
                                                                                             28
                                                                                                  cover-story/.
                                                                                                  6
                                                                                                    SMITHSONIAN INSTITUTION, https://www.si.edu/object/nmah_1155897 (last visited July
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                                                                                                                                        COMPLAINT
                                                                                            Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 9 of 22 Page ID #:9



                                                                                              1   followers7 and @barbiestyle has 2.2 million 8; the BARBIE YouTube channel has
                                                                                              2   over 3.5 billion views 9; and the BARBIE TikTok account has amassed over 4.5
                                                                                              3   million likes on its posts. 10
                                                                                              4          30.    As a result of Mattel’s efforts, its BARBIE trademark has achieved
                                                                                              5   near universal recognition among the general consuming public in the United
                                                                                              6   States and consumers have come to associate BARBIE exclusively with Mattel.
                                                                                              7          31.    Mattel has gone to great lengths to protect its interest in its valuable
                                                                                              8   BARBIE trademark. No one other than Mattel and its authorized licensees and
                                                                                              9   distributors is authorized to manufacture, import, export, advertise, offer for sale,
                                                                                             10   or sell any goods utilizing the BARBIE trademark without the express permission
                                                                                             11   of Mattel.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12                       Defendant Rap Snacks’ Infringing Activities
                                                    LOS ANG ELES, CA 90067
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                                                                                             13          32.    Upon information and belief, Defendant Rap Snacks is a snack food
                                                                             310-229-9900




                                                                                             14   company that sells chips, popcorn, cheese puffs, noodles, and drinks.
                                                                                             15          33.    Upon information and belief, Rap Snacks markets, promotes,
                                                                                             16   advertises, and sells its snack food products through physical retailers, including
                                                                                             17   but not limited to, Walmart, Kroger, 7-Eleven, Circle K, Sav A Lot, and other
                                                                                             18   retail stores throughout the United States, including California.
                                                                                             19          34.    Rap Snacks also markets, promotes, advertises, and sells its snack
                                                                                             20   food products through multiple online channels, including but not limited to social
                                                                                             21   media (e.g., Instagram, Facebook, Linkedin, Twitter, and TikTok), as well as
                                                                                             22   Amazon, and on its website, https://www.rapsnacks.net/.
                                                                                             23          With Much Fanfare, Rap Snacks Launches Its New Product Line by
                                                                                             24       Intentionally Infringing Mattel’s Trademark and Causing Actual Confusion
                                                                                             25          35.    Without permission or consent from Mattel, and despite having actual
                                                                                             26   notice of Mattel’s rights in its BARBIE trademark, on or around June 30, 2022,
                                                                                             27   7
                                                                                                    @barbie, Instagram (July 26, 2022, at 3:15 PM), https://www.instagram.com/barbie/?hl=en.
                                                                                                  8
                                                                                                    @barbiestyle, Instagram (Aug. 1, 2022, at 11:50 AM), https://www.instagram.com/barbiestyle.
                                                                                             28   9
                                                                                                    Barbie, Barbie, YouTube (July 26, 2022), https://www.youtube.com/c/barbie/about.
                                                                                                  10
                                                                                                     @barbie, TikTok (July 26, 2022), https://www.tiktok.com/@barbie.
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                                                                                                                                           COMPLAINT
                                                                                Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 10 of 22 Page ID #:10



                                                                                             1   Rap Snacks announced the launch of a new line of potato chips featuring BARBIE
                                                                                             2   prominently on packaging.
                                                                                             3                               Rap Snacks Product Packaging:
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              2049 CENTURY PARK EAST, SUITE 2 300




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                                                                                            14         36.   Not only does the name of Rap Snacks’ product packaging wholly
                                                                                            15   incorporate Mattel’s BARBIE trademark, but the logo is confusingly similar to the
                                                                                            16   current BARBIE logo, and virtually identical to another version of the BARBIE
                                                                                            17   logo used by Mattel, demonstrating Rap Snacks’ blatant copying of Mattel’s
                                                                                            18   Barbie logos:
                                                                                            19

                                                                                            20      Rap Snacks’ Infringing       Mattel’s Current Stylized   Mattel’s Alternative
                                                                                                         Stylized Use                      Logo                Stylized Logo
                                                                                            21

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                                                                                Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 11 of 22 Page ID #:11



                                                                                             1         37.   In addition, Rap Snacks use of the BARBIE trademark in connection
                                                                                             2   with snack food items is made even more confusing to consumers by the fact that
                                                                                             3   Mattel advertises and sells its own line of snack foods—such as pasta, candy,
                                                                                             4   cookies, drinks, and fruit snacks—using a virtually identical stylized BARBIE
                                                                                             5   trademark, as shown below.
                                                                                             6

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              2049 CENTURY PARK EAST, SUITE 2 300




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                                                                                                       38.   Rap Snacks’ promotional campaign and use of BARBIE for its chip
                                                                             310-229-9900




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                                                                                                 venture has been extensive, involving New York City billboards, promotional chip

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                                                                                                 giveaways at a music festival in New Orleans, an exclusive article announcing the

                                                                                            16
                                                                                                 launch in a popular national magazine, and continual posts and videos across

                                                                                            17
                                                                                                 multiple social media platforms (e.g., Facebook, Twitter, Instagram, LinkedIn, and

                                                                                            18
                                                                                                 TikTok).

                                                                                            19
                                                                                                                   Rap Snacks’ Promotional Post on Instagram:

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                                                                                                                                     COMPLAINT
                                                                                Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 12 of 22 Page ID #:12



                                                                                             1     Rap Snacks’ Photos of Chip Giveaway At New Orleans Festival on Facebook:
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              2049 CENTURY PARK EAST, SUITE 2 300




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                                                                                            13         39.   Rap Snacks’ announcement has also been picked up by a variety of
                                                                             310-229-9900




                                                                                            14   other media outlets.
                                                                                            15         40.   Rap Snacks’ promotional campaign has also promised special
                                                                                            16   contests, exclusive content for VIP members such as early access to preview new
                                                                                            17   flavors and packaging designs, as well as product ordering:
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                                                                                                       41.    Rap Snacks’ unlawful and infringing use has already led to actual
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                                                                                                 consumer confusion with consumers falsely believing that Mattel has authorized
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                                                                                                                                     COMPLAINT
                                                                                Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 13 of 22 Page ID #:13



                                                                                             1   this use of its BARBIE trademark, and the continued use is likely to cause
                                                                                             2   continued consumer confusion.
                                                                                             3         42.       In preparation for the launch of the above referenced chips, on April
                                                                                             4   4, 2022, James Lindsay, the Chief Executive Officer of Rap Snacks, filed with the
                                                                                             5   United States Patent and Trademark Office (“USPTO”) an intent-to-use trademark
                                                                                             6   application to register the word BARBIE-QUE (U.S. App. No. 97/346,582) (the
                                                                                             7   “BARBIE-QUE Application”) in connection with a wide variety of food products
                                                                                             8   and beverages in International Classes 29 and 30, including but not limited to,
                                                                                             9   chips, cookies, fruit-based snack food, candy-coated popcorn, chocolate candies,
                                                                                            10   and snacks.
                                                                                            11         43.       Upon learning of the infringement, Mattel contacted Rap Snacks
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   directly regarding the use and attempted registration of BARBIE-QUE, notifying
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                                                                                            13   Defendant that the use and attempted registration of BARBIE-QUE constitutes
                                                                             310-229-9900




                                                                                            14   trademark infringement, and demanding that Rap Snacks immediately cease use of
                                                                                            15   BARBIE on or in connection with its products, and withdraw or abandon the
                                                                                            16   BARBIE-QUE Application. To date, Rap Snacks has failed to do so, and has made
                                                                                            17   no effort to correct the misimpressions it foisted on the public. Rather, having
                                                                                            18   benefitted from launching its new product line by infringing Mattel’s trademark,
                                                                                            19   on information and belief, Rap Snacks has chosen to continue to use BARBIE on
                                                                                            20   and in connection with its new product line.
                                                                                            21                                FIRST CAUSE OF ACTION
                                                                                            22               (Federal Trademark Infringement under 15 U.S.C. § 1114)
                                                                                            23                       (Against Defendant Rap Snacks & Does 1-10)
                                                                                            24         44.       Mattel repeats and realleges the foregoing paragraphs as if fully set
                                                                                            25   forth herein.
                                                                                            26         45.       Mattel owns numerous valid and protectable federal trademark
                                                                                            27   registrations for BARBIE, as shown at Exhibit A hereto. The BARBIE marks are
                                                                                            28   distinctive by virtue of their inherent and acquired distinctiveness, extensive use,

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                                                                                                                                         COMPLAINT
                                                                                Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 14 of 22 Page ID #:14



                                                                                             1   prominence in intended and unsolicited media attention, and publicity.
                                                                                             2          46.   As described in more detail herein, Defendant has begun promoting,
                                                                                             3   advertising and distributing chips featuring the BARBIE trademark in the United
                                                                                             4   States.
                                                                                             5          47.   Defendant’s use of BARBIE, including its use of the BARBIE-QUE
                                                                                             6   branding, is confusingly similar to Mattel’s BARBIE trademark in sound,
                                                                                             7   appearance, and overall commercial impression as it incorporates the entirety of
                                                                                             8   Mattel’s BARBIE mark. Rap Snacks’ use of the stylized BARBIE branding on
                                                                                             9   packaging is in fact virtually identical to Mattel’s stylized BARBIE mark. Having
                                                                                            10   engaged in this unlawful behavior, Defendant has evidenced its clear intent to
                                                                                            11   cause confusion, and it cannot now avoid the claims by minimizing its unlawful
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   use.
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                                                                                            13          48.   In addition, the chips promoted by Rap Snacks and associated with
                                                                             310-229-9900




                                                                                            14   Mattel’s BARBIE brand are highly related to the snack food products offered by
                                                                                            15   Mattel under its BARBIE trademark.
                                                                                            16          49.   Upon information and belief, consumers who encounter Rap Snacks’
                                                                                            17   advertising of its chips are likely to believe that this product is sourced from or is
                                                                                            18   affiliated with Mattel. Rap Snacks’ use of BARBIE and BARBIE-QUE in the
                                                                                            19   manner described herein has already caused and is likely to cause further
                                                                                            20   confusion, mistake, or deception as to the affiliation, connection, or association of
                                                                                            21   Rap Snacks with Mattel, and/or as to the origin, sponsorship, or approval of Rap
                                                                                            22   Snacks’ chips by Mattel. Such use constitutes trademark infringement in violation
                                                                                            23   of 15 U.S.C. § 1114(1)(a).
                                                                                            24          50.   Rap Snacks’ conduct is without Mattel’s permission or authority.
                                                                                            25   Prior to beginning its use, Rap Snacks had actual knowledge of Mattel’s senior
                                                                                            26   rights in its BARBIE trademark. As a result, Rap Snacks has committed its
                                                                                            27   infringement with full knowledge of Mattel’s rights in the BARBIE trademark and
                                                                                            28   has willfully, deliberately, and maliciously engaged in the described acts with an

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                                                                                                                                       COMPLAINT
                                                                                Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 15 of 22 Page ID #:15



                                                                                             1   intent to injure Mattel and to deceive the public.
                                                                                             2          51.      Rap Snacks has traded and is trading on, and has gained and is
                                                                                             3   gaining public acceptance and other benefits from, the favorable reputation and
                                                                                             4   valuable goodwill of Mattel’s BARBIE trademark, which have accordingly been
                                                                                             5   placed at risk and damaged by Rap Snacks’ unlawful actions and conduct.
                                                                                             6          52.      Upon information and belief, Rap Snacks has profited from this
                                                                                             7   infringement.
                                                                                             8          53.      This is an exceptional case under 15 U.S.C. § 1117(a).
                                                                                             9          54.      Rap Snacks’ and Does 1-10’s willful conduct has caused damage to
                                                                                            10   Mattel in an amount to be determined at trial, and unless restrained, will continue
                                                                                            11   to cause serious and irreparable injury for which there is no adequate remedy at
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   law.
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                                                                                            13          55.      In light of the foregoing, Mattel is entitled to injunctive relief, and to
                                                                             310-229-9900




                                                                                            14   recover from Rap Snacks and Does 1-10 all damages, including lost profits and
                                                                                            15   attorneys’ fees and costs of corrective advertising to mitigate damages, that Mattel
                                                                                            16   has sustained and will sustain as a result thereof, in an amount not yet known, but
                                                                                            17   which circumstances warrant enhancement pursuant to 15 U.S.C. § 1117(a), as
                                                                                            18   well as the costs of this action. Mattel is also entitled to an accounting of Rap
                                                                                            19   Snacks’ and Does 1-10’s profits resulting from its Lanham Act violations.
                                                                                            20                               SECOND CAUSE OF ACTION
                                                                                            21   (Federal Unfair Competition and False Designation of Origin under 15 U.S.C.
                                                                                            22                                            § 1125(a))
                                                                                            23                       (Against Defendant Rap Snacks & Does 1-10)
                                                                                            24          56.      Mattel repeats and realleges the foregoing paragraphs as if fully set
                                                                                            25   forth herein.
                                                                                            26          57.      As described in more detail in the foregoing paragraphs, Defendant
                                                                                            27   Rap Snacks has begun promoting, advertising and distributing chips featuring the
                                                                                            28   BARBIE trademark in the United States.

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                                                                                                                                          COMPLAINT
                                                                                Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 16 of 22 Page ID #:16



                                                                                             1         58.    Upon information and belief, consumers who encounter Defendant’s
                                                                                             2   use and advertising of BARBIE, including the name of defendant’s products that
                                                                                             3   incorporate Mattel’s BARBIE trademark, are likely to believe that this product is
                                                                                             4   sourced from or is affiliated with Mattel. Thus, Rap Snacks use of BARBIE,
                                                                                             5   including in the BARBIE-QUE name, in connection with chips, has already caused
                                                                                             6   and is likely to cause further confusion, mistake, or deception as to the affiliation,
                                                                                             7   connection, or association of Rap Snacks with Mattel, or as to the origin,
                                                                                             8   sponsorship, or approval of Rap Snacks’ chips by Mattel. Such use constitutes
                                                                                             9   unfair competition and false designation of origin in violation of 15 U.S.C. §
                                                                                            10   1125(a).
                                                                                            11         59.    Upon information and belief, Rap Snack’s conduct was designed and
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   undertaken for the purpose of unfairly competing with Mattel.
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                                                                                            13         60.    Rap Snacks’ conduct is without Mattel’s permission or authority.
                                                                             310-229-9900




                                                                                            14   Prior to beginning its use, Rap Snacks had actual knowledge of Mattel’s senior
                                                                                            15   rights in its BARBIE trademark. As a result, Rap Snacks has committed its
                                                                                            16   infringement with full knowledge of Mattel’s rights in the BARBIE trademark and
                                                                                            17   has willfully, deliberately, and maliciously engaged in the described acts with an
                                                                                            18   intent to injure Mattel and to deceive the public.
                                                                                            19         61.    Rap Snacks has traded and is trading on, and has gained and is
                                                                                            20   gaining public acceptance and other benefits from, Mattel’s favorable reputation
                                                                                            21   and valuable goodwill, which have accordingly been placed at risk and damaged
                                                                                            22   by Rap Snacks’ illegal actions and conduct.
                                                                                            23         62.    Upon information and belief, Rap Snacks and Does 1-10 have each
                                                                                            24   profited from this unfair competition and false designation of origin.
                                                                                            25         63.    This is an exceptional case under 15 U.S.C. § 1117(a).
                                                                                            26         64.    Rap Snacks’ willful conduct has caused damage to Mattel in an
                                                                                            27   amount to be determined at trial, and unless restrained, will continue to cause
                                                                                            28   serious and irreparable injury for which there is no adequate remedy at law.

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                                                                                                                                       COMPLAINT
                                                                                Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 17 of 22 Page ID #:17



                                                                                             1         65.       In light of the foregoing, Mattel is entitled to injunctive relief, and to
                                                                                             2   recover from Rap Snacks and Does 1-10 all damages, including lost profits and
                                                                                             3   attorneys’ fees, that Mattel has sustained and will sustain as a result thereof, in an
                                                                                             4   amount not yet known, but which circumstances warrant enhancement pursuant to
                                                                                             5   15 U.S.C. § 1117(a), as well as the costs of this action. Mattel is also entitled to an
                                                                                             6   accounting of Rap Snacks’ and Does 1-10’s profits resulting from its Lanham Act
                                                                                             7   violations.
                                                                                             8                                THIRD CAUSE OF ACTION
                                                                                             9                        (Federal Dilution under 15 U.S.C. § 1125(c))
                                                                                            10                       (Against Defendant Rap Snacks & Does 1-10)
                                                                                            11         66.       Mattel repeats and realleges the foregoing paragraphs as if fully set
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   forth herein.
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                                                                                            13         67.       Mattel’s BARBIE trademark is “famous” within the meaning of
                                                                             310-229-9900




                                                                                            14   Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c), in that it is widely
                                                                                            15   recognized by the general consuming public of the United States as a designation
                                                                                            16   of source of Mattel’s products, including snack products, as set forth above in
                                                                                            17   paragraphs 16 through 35.
                                                                                            18         68.       The BARBIE trademark is distinctive by virtue of its inherent and
                                                                                            19   acquired distinctiveness, extensive use, prominence in intended and unsolicited
                                                                                            20   media attention, and publicity. Indeed, numerous articles have recognized
                                                                                            21   BARBIE as “famous.” As a result of the substantial inherent and acquired
                                                                                            22   distinctiveness, as well as Mattel’s widespread use of BARBIE, Mattel’s BARBIE
                                                                                            23   trademark has become a strong and widely respected symbol for Mattel and the
                                                                                            24   related products it represents.
                                                                                            25         69.       As described in more detail in the foregoing paragraphs, through its
                                                                                            26   promotion, advertising and distribution of chips featuring the BARBIE trademark,
                                                                                            27   Rap Snacks has used “BARBIE” in connection with chips in commerce, and such
                                                                                            28   use and promotion began long after Mattel’s BARBIE trademark became famous.

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                                                                                                                                          COMPLAINT
                                                                                Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 18 of 22 Page ID #:18



                                                                                             1         70.    Rap Snacks’ use of BARBIE, including in the BARBIE-QUE name,
                                                                                             2   as described above is likely to cause dilution by blurring because the association
                                                                                             3   among ordinary consumers arising from Rap Snacks’ use of BARBIE in
                                                                                             4   connection with chips or snack foods is likely to impair the distinctiveness of
                                                                                             5   Mattel’s famous BARBIE trademark in violation of 15 U.S.C. § 1125(c)(2)(B).
                                                                                             6         71.    Rap Snacks’ unauthorized use of BARBIE, including in its BARBIE-
                                                                                             7   QUE brand, as described above is likely to cause dilution by tarnishment because
                                                                                             8   the association among ordinary consumers arising from Rap Snacks’ use of
                                                                                             9   BARBIE in connection with chips or snack foods is likely to harm the reputation
                                                                                            10   of Mattel’s famous BARBIE trademark in violation of 15 U.S.C. § 1125(c)(2)(C).
                                                                                            11         72.    Rap Snacks’ conduct is without Mattel’s permission or authority.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   Prior to beginning its use, Rap Snacks had actual knowledge of Mattel’s senior
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   rights in its BARBIE trademark. As a result, Rap Snacks has committed its
                                                                             310-229-9900




                                                                                            14   infringement with full knowledge of Mattel’s rights in the BARBIE trademark and
                                                                                            15   has willfully, deliberately, and maliciously engaged in the described acts with an
                                                                                            16   intent to injure Mattel and to deceive the public.
                                                                                            17         73.    Upon information and belief, Rap Snacks has profited from this
                                                                                            18   trademark dilution.
                                                                                            19         74.    This is an exceptional case under 15 U.S.C. § 1117(a).
                                                                                            20         75.    Rap Snacks’ willful conduct has caused damage to Mattel in an
                                                                                            21   amount to be determined at trial, and unless restrained, will continue to cause
                                                                                            22   serious and irreparable injury for which there is no adequate remedy at law.
                                                                                            23         76.    In light of the foregoing, Mattel is entitled to injunctive relief, and to
                                                                                            24   recover from Rap Snacks and Does 1-10 all damages, including lost profits and
                                                                                            25   attorneys’ fees, that Mattel has sustained and will sustain as a result thereof, in an
                                                                                            26   amount not yet known, but which circumstances warrant enhancement pursuant to
                                                                                            27   15 U.S.C. § 1117(a), as well as the costs of this action.
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                                                                                                                                       COMPLAINT
                                                                                Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 19 of 22 Page ID #:19



                                                                                             1                               FOURTH CAUSE OF ACTION
                                                                                             2               (State Unfair Competition, Cal. Bus. & Prof. Code § 17200)
                                                                                             3                       (Against Defendant Rap Snacks & Does 1-10)
                                                                                             4         77.       Mattel repeats and realleges the foregoing paragraphs as if fully set
                                                                                             5   forth herein.
                                                                                             6         78.       Rap Snacks’ conduct alleged herein constitutes false designation of
                                                                                             7   origin under 15 U.S.C. § 1125(a). Rap Snacks’ conduct thus constitutes willful and
                                                                                             8   deliberate unfair competition in wanton disregard of Mattel’s valuable intellectual
                                                                                             9   property rights. Upon information and belief, Rap Snacks has profited from this
                                                                                            10   infringement.
                                                                                            11         79.       Rap Snacks’ conduct has directly and proximately caused and will
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   continue to cause Mattel substantial and irreparable injury, including customer
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   confusion, injury to its reputation, and diminution in value of its intellectual
                                                                             310-229-9900




                                                                                            14   property, and unless restrained, will continue to seriously and irreparably impair
                                                                                            15   further the value of Mattel’s BARBIE trademark, for which there is no adequate
                                                                                            16   remedy at law.
                                                                                            17         80.       In light of the foregoing, Mattel is entitled to an injunction under Cal.
                                                                                            18   Bus. & Prof. Code §§ 17200 et seq. restraining Rap Snacks from engaging in
                                                                                            19   further such unlawful conduct, as well as any and all other relief available under
                                                                                            20   Section 17200.
                                                                                            21                                   PRAYER FOR RELIEF
                                                                                            22         WHEREFORE, Mattel requests that judgment be entered in its favor and
                                                                                            23   against Defendant Rap Snacks and Does 1-10 as follows:
                                                                                            24         A.        For an order and judgement that Defendant Rap Snacks has infringed
                                                                                            25                   Mattel’s BARBIE trademark in violation of Mattel’s rights under
                                                                                            26                   federal law and/or California law;
                                                                                            27         B.        For an order and judgement that Defendant Rap Snacks has unfairly
                                                                                            28                   competed with Mattel in violation of Mattel’s rights under 15 U.S.C. §

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                                                                                                                                         COMPLAINT
                                                                                Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 20 of 22 Page ID #:20



                                                                                             1        1125(a) and/or California law;
                                                                                             2   C.   For an order and judgement that Defendant Rap Snacks’ conduct has
                                                                                             3        diluted Mattel’s famous BARBIE trademark in violation of 15 U.S.C.
                                                                                             4        § 1125(c);
                                                                                             5   D.   For an order and judgement that Defendant Rap Snacks has acted in
                                                                                             6        bad faith, willfully, intentionally, and/or with reckless disregard to
                                                                                             7        Mattel’s rights;
                                                                                             8   E.   For an order permanently enjoining and restraining Defendant Rap
                                                                                             9        Snacks, and its agents, affiliates, subsidiaries, parents, officers,
                                                                                            10        directors, servants, attorneys, employees, and assigns, and all persons
                                                                                            11        in active concert or participation with them, from:
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12               i. Using the BARBIE trademark, any mark incorporating
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                                                                                            13                  BARBIE, or any confusingly similar mark in connection
                                                                             310-229-9900




                                                                                            14                  with the sale or advertisement of goods or services in the
                                                                                            15                  United States;
                                                                                            16              ii. Using the BARBIE trademark directly or indirectly in
                                                                                            17                  connection with the sale or advertisement of goods or
                                                                                            18                  services in any location, including on any website, or in any
                                                                                            19                  grocery store or other retail outlet;
                                                                                            20             iii. Engaging in conduct intended to mislead consumers through
                                                                                            21                  false advertising such as that specified in this Complaint or
                                                                                            22                  other similar advertisements intended to mislead or confuse
                                                                                            23                  consumers or disparage or dilute Mattel’s BARBIE
                                                                                            24                  trademark; and
                                                                                            25             iv. Engaging in any activity that is intended to, or has the effect
                                                                                            26                  of, causing Rap Snacks or any other person to tarnish
                                                                                            27                  Mattel’s BARBIE trademark in any way;
                                                                                            28   F.   For an order requiring Defendant Rap Snacks to permanently remove

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                                                                                                                               COMPLAINT
                                                                                Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 21 of 22 Page ID #:21



                                                                                             1        any advertising or physical product bearing the BARBIE-QUE brand
                                                                                             2        from any location, including any website, grocery store, or retail
                                                                                             3        outlet.
                                                                                             4   G.   For an order requiring Defendant Rap Snacks to file with the Court
                                                                                             5        and serve upon Mattel within fifteen (15) days after issuance of any
                                                                                             6        injunction, a report in writing under oath setting forth in detail the
                                                                                             7        manner and form in which Defendant Rap Snacks has complied with
                                                                                             8        the injunction;
                                                                                             9   H.   For an order pursuant to 15 U.S.C. § 1119 cancelling any trademark
                                                                                            10        registrations for BARBIE-QUE that may issue during the pendency of
                                                                                            11        this litigation;
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   I.   For an order requiring Defendant Rap Snacks and Does 1-10 to
                                                    LOS ANG ELES, CA 90067
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                                                                                            13        account for and pay over to Mattel all profits derived by Defendant
                                                                             310-229-9900




                                                                                            14        Rap Snacks from the use of BARBIE, including in the BARBIE-QUE
                                                                                            15        name, and for all damages sustained by Mattel by reason of Defendant
                                                                                            16        Rap Snacks’ acts of infringement, false designation of origin, unfair
                                                                                            17        competition, and injury to business reputation complained of in this
                                                                                            18        Complaint, and that such amounts be held in constructive trust for
                                                                                            19        Mattel;
                                                                                            20   J.   For an order awarding Mattel:
                                                                                            21                  i. All profits derived by Defendant Rap Snacks’ wrongful acts
                                                                                            22                    complained of herein;
                                                                                            23              ii. All damages sustained by reason of Defendant Rap Snacks’
                                                                                            24                    wrongful acts complained of herein;
                                                                                            25              iii. Treble the amount of actual damages suffered by Mattel
                                                                                            26                    under 15 U.S.C. § 1117(a);
                                                                                            27              iv. Punitive and exemplary damages in an amount sufficient to
                                                                                            28                    deter and punish Defendant Rap Snacks for its willful and

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                                                                                                                                COMPLAINT
                                                                                Case 2:22-cv-05702-FMO-MAA Document 1 Filed 08/11/22 Page 22 of 22 Page ID #:22



                                                                                             1                          wrongful acts;
                                                                                             2                       v. Costs of corrective advertising to mitigate Mattel’s damages;
                                                                                             3                      vi. Its costs incurred in this action;
                                                                                             4                     vii. Its reasonable attorneys’ fees pursuant to 15 U.S.C. §
                                                                                             5                          1117(a); and
                                                                                             6                    viii. Pre-judgment and post-judgment interest
                                                                                             7         K.     Such other and further relief as the Court may deem just and proper
                                                                                             8                under the circumstances.
                                                                                             9                                     JURY DEMAND
                                                                                            10         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Mattel
                                                                                            11   demands a jury trial on all issues so triable.
              2049 CENTURY PARK EAST, SUITE 2 300




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                                                    LOS ANG ELES, CA 90067




                                                                                                   DATE: August 11, 2022           VENABLE, LLP
VENABLE LLP




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                                                                             310-229-9900




                                                                                                                                   By:    /s/ Lee S. Brenner
                                                                                            14                                           Lee S. Brenner
                                                                                            15                                           Meaghan H. Kent (pro hac vice pending)
                                                                                                                                         Alicia M. Sharon
                                                                                            16                                           Attorneys for Plaintiff
                                                                                            17                                           MATTEL, INC.
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                                                                                                                                         COMPLAINT
